Case 1:24-cv-05948-JLR   Document 49-4   Filed 01/23/25   Page 1 of 2




   EXHIBIT D
                  Case 1:24-cv-05948-JLR                      Document 49-4                Filed 01/23/25             Page 2 of 2




Cassava Sciences Announces Expansion of Leadership Team
October 27, 2022

        Chris Cook, A Skilled Litigator, To Join Management Team as General Counsel

        New Position Is Expected to Be Critical to Operations and Strategic Initiatives

AUSTIN, Texas, Oct. 27, 2022 (GLOBE NEWSWIRE) -- Cassava Sciences, Inc. (Nasdaq: SAVA), a clinical-stage biotechnology company focused on
Alzheimer’s disease, announced the expansion of its leadership team with the appointment of Christopher Cook as Senior Vice President and General
Counsel. This is a newly created position, reporting to Remi Barbier, President & CEO.

“Chris is an accomplished legal advisor, a skilled litigator and a proven leader in legal matters,” said Remi Barbier. "We’re very excited that Chris will
shortly join us as Cassava Sciences’ in-house General Counsel. I’m confident his experience and deep expertise will be a critical addition to the
Company’s business operations and strategic initiatives.”

Chris has over 25 years of experience working in health care, private practice and government. He joins Cassava Sciences from Alcon, a publicly
traded medical company, where he served as the Global Head of Litigation and Government Investigations since 2017. Prior to Alcon, he was the Vice
President and division General Counsel for Walmart Central America in San Jose, Costa Rica. Chris practiced law at Jones Day, a multinational law
firm, for seventeen years, where he was a litigation partner in the firm's Washington, DC and Chicago offices. Before Jones Day, Chris served as an
Assistant United States Attorney in Chicago. He holds a B.A. in English from Emory University and a Juris Doctor from Harvard Law School.

Phase 3 Clinical Program
Cassava Sciences’ on-going Phase 3 program consists of two double-blind, randomized, placebo-controlled studies of simufilam, an investigational
oral drug, in approximately 1,750 patients with mild-to-moderate Alzheimer’s disease. Both Phase 3 studies have Special Protocol Assessments (SPA)
from the U.S. Food and Drug Administration. For more information about Cassava Sciences’ Phase 3 studies, please visit ClinicalTrials.gov:
https://www.clinicaltrials.gov/ct2/show/NCT04994483?term=simufilam&draw=2&rank=3
https://www.clinicaltrials.gov/ct2/show/NCT05026177?term=simufilam&draw=2&rank=4

About Simufilam
Simufilam is Cassava Sciences’ proprietary, small molecule (oral) drug candidate that restores the normal shape and function of altered filamin A
(FLNA) protein in the brain. Cassava Sciences owns worldwide development and commercial rights to its research programs in Alzheimer’s disease,
and related technologies, without royalty obligations to any third party.

About Cassava Sciences, Inc.
Cassava Sciences, Inc. is a clinical-stage biotechnology company based in Austin, Texas. Our mission is to detect and treat neurodegenerative
diseases, such as Alzheimer’s disease. Our novel science is based on stabilizing – but not removing – a critical protein in the brain. For more
information, please visit: https://www.CassavaSciences.com.

For More Information Contact:
Eric Schoen, Chief Financial Officer
(512) 501-2450
eschoen@CassavaSciences.com




Source: Cassava Sciences, Inc.
